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                                                                                      EXHIBIT 1


                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

IN RE: ALEX E. JONES                              §
                                                  §         CASE NO. 23-33553 (CML)
                                                  §
              Debtor.                             §         Chapter 7


                          DECLARATION OF ALEX E. JONES

     I, Alex E. Jones, declare as follows:

1.   My name is Alex E. Jones. I am above the age of 18, and I am fully competent to make this
     Declaration. The statements contained in this Declaration are true and correct and are based
     on my personal knowledge. This Declaration is submitted along with my Complaint and
     request for TRO and Injunctive Relief. Undefined capitalized terms used herein have the
     meaning in the Complaint. Exhibits referenced herein are those attached to the Complaint.

2.   I request for myself and on behalf of Free Speech Systems, LLC ("FSS") (the "Jones
     Plaintiffs") for this Court (a) to enter temporary restraining orders; and (b) declare that the
     sixteen people and entities the Trustee designated collectively as the "successful bidder"
     are disqualified from the Auction which was the subject of this Court's Order of September
     25, 2024 [0kt. #859], that First United American Companies ("First American") whom the
     Trustee designated as the Backup Bidder is the true winner of the Auction and that my
     intellectual property (defined in the next paragraph as the "Jones IP Rights) cannot be sold
     or transferred without my express approval.

3.   As used herein, my intellectual property includes (i) internet domain names containing in
     whole or in part, the name Jones, "Alex Jones," 'Alex E . .Jones", (ii) my image or likeness,
     (iii) my unique voice (iv) other features of mine which are unique, defining and associated
     with me (which I will call the "Jones Persona"), and (v) the program and broadcasting
     content I have made or which I have produced over the years for all of my media programs
     and outlets (which I will call along with the Jones Persona, the "Jones IP Rights").

4.    To elaborate on my program and broadcasting content referenced above, I have been in
     the media broadcast business for many decades. The shows that I air are all shows that I
     have conceived, outlined, researched, scripted, presented, edited, (where recorded) and
     they reflect a unique style that I have personally generated and that the public associates
     with me. In addition to the content of the broadcasts, I have conceived, designed and
     produced the style of those presentations. I know from my discussions and conversations
     with the some of the many millions of my viewers and listeners that both the content and
     the style of my programming and broadcasting are unique and are associated in the public
     mind with me. I also know this not just from the viewing public but from talking with
     others in the media broadcasting business who do the same kind of thing I do who have



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     commented on the unique nature of my content and style, and that it is uniquely associated
     with me.

5.   I know from my own experience in the media broadcast business that Defendant Global
     Tetrahedron, LLC, ("Tetrahedron") is the owner and operator of what I would call a series
     of satirical publications. They take shots at conservative people and causes like me. One
     of their flagship publications is called the "Onion."

6.   Attached to the Complaint as Exhibit 5 are true and correct copies of articles reflectjng
     interviews of some of the principals and affiliates of Tetrahedron that they gave around
     Mid November 2024 when they acquired my Info Wars web site and other property of mine.
     Also in Exhibit 5 are true and correct copies of some of the very large number of news
     stories around Mid November 2024 recounting their takeover of my business. Tetrahedron
     and its principals are politically opposite of me on most of the issues of the day. Gun
     control is one of the biggest areas of political difference, where they like the Connecticut
     Plaintiffs are very loud and vocal advocates of gun control, and I am very much against
     gun control.

7.   I know that Tetrahedron and the Connecticut Plaintiffs submitted bids on November 8 and
     then November 13, to acquire certain assets of mine and FSS, and that Exhibit 3 is a true
     and correct copy of that bid. Exhibit 4 is also a true and correct copy of a summary term
     sheet they submitted to the Trustee claiming that the bid they collectively made for the
     purchase of my assets amounted to $7,000,000 which they derive by taking the $1.75M
     Tetrahedron was to pay and by having the Connecticut Plaintiffs take what they say is their
     entitlement to 75% of that and "forebear" receipt in favor of the Texas Plaintiffs which
     somehow increases the $1.75M. This seems nonsensical to me. I am seeking a
     determination from this Court that their offer does not comply with the Bid Requirements
     this Cowt approved and do not want their bid to succeed. I will personally be harmed if
     this is not done, as Tetrahedron and the Connecticut Plaintiffs will not just tear down
     everything I have worked a lifetime to build, but they will seek to confuse my loyal
     following and drive them away from me.

8.   I know because I was there, that the Trustee came to Austin on November 13 and 14, and
     (a) took InfoWars programing off the air; (b) fired employees who were working at a
     business that generated significant cash; and (c) took control of FSS's inventory of
     perishable consumer products sold. I do not know what else the Trustee did or whom he
     spoke with. The Trustee's counsel later represented to the Court that the Trustee closed
     everything down and terminated operations out of some fear that employees would
     somehow steal or convert assets once they found out who the "winning bidders" were.
     Given my experience with this business and my employees in particular, I can categorically
     say this is not well founded. My employees are all honest and trustworthy.

9.   The Trustee interrupted a business operation that is very profitable. I am afraid he will do
     it again and request that this Court not allow the Trustee to make that judgment, but that
     the Trustee be required to get court approval before he makes any material business
     decision concerning me, FSS or InfoWars. l know that the Defendants have taken steps to
     control my business, and all property involved in the Sale Order. By their actions and

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       demands they act as if title had transferred, even though no title has been approved for
       transfer. To allow them to do this again, would cripple the business. If the Defendants are
       allowed to purchase my property. especially the Jones IP RJghts, this would be devasting
       to my business given the market place confusion they would create and interference with
       contracting parties who would not know if they could even talk to me.

10.    I also know that Tetrahedron and the Connecticut Plaintiffs (who I may call the Defendants)
       attempted to buy from the Trustee some of what I have called the Jones IP RJghts (defined
       above) and I adamantly oppose and object to this. From what I know of the Defendants if
       they are allowed to acquire any of the Jones IP Rights, they will begin a systematic effort
       to confuse my personal following with messages espousing gun control and do so in a
       manner such that my personal following with whom I am very familiar will be utterly
       confused and misled. Further, I know from my conversations with owners and managers
       of various social media organizations and platforms such as X (formerly Twitter) that if the
       Defendants take over my social media platforms, there is a high probability those platforms
       will cancel me, as they are very concerned about truthful use of their platforms and the
       Defendants' confusing use of anything formerly associated with me, is not honest and will
       deceive my followers. Social media outlets will not allow it.

11.    I am very familiar with a company called First United American Companies ("First
       United"), and its principal, Charles Cicack. I know that First United submitted a bid to
       acquire certain assets of mine and FSS, and that Exhibit 2 is a true and correct copy of that
       bid. I am seeking a determination from this Comt that the offer of First United complies
       with the Bid Requirements and it should succeed. I favor this and request it.

12.    FSS is a Texas limited liability company and I am the manager. In my opinion, the Trustee
       is not a "member" because he has never been voted in as such. I do not believe he has the
       right to usurp my statutory rights and responsibilities as the manager of FSS.


I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.

       EXECUTED this 18'" day ofNovember, 2024.          h\
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                                                     ALEX E. JONE




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